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                                              THE CITY OF NEW YORK
                                             LAW DEPARTMENT
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                                                                              June 22, 2020

        BY ECF
        The Honorable Roanne L. Mann
        United States Magistrate Judge
        United States District Court
        Eastern District of New York
        225 Cadman Plaza East
        Brooklyn, NY 11201
                       Re:     Lucas v. City of New York, et al.,
                               19 CV 3494 (FB)(RLM)
        Your Honor:

                I am an attorney in the Special Federal Litigation Division of the New York City Law
        Department, representing defendants the City of New York, Stephen Lalchan, Adam Georg,
        Jason Fritz, Robert Bracero, Thomas Reo, Daniel Sjoberg, Keith Shine, and Kevin Catalina
        (collectively, “Defendants”) in the above-referenced matter. Defendants write to respectfully
        request a forty-five (45) day enlargement of time to comply with the Court’s order dated March
        30, 2020, directing Defendants to complete production of certain files by June 24, 2020. See
        Order dated March 30, 2020. Plaintiff’s counsel consents to this request. If Your Honor is
        inclined to grant this request, it will not interfere in any way with the parties’ ability to
        meaningfully participate in the settlement conference with the Court scheduled for July 14, 2020,
        at 10 a.m.

               By June 24, 2020, Defendants will have produced to Plaintiff approximately 775,000
        pages. Notwithstanding these efforts, approximately 15,000 pages of documents remain to be
        reviewed and produced. The remaining documents consist, in large part, of documents created
        by the District Attorney’s office. In light of the fact that Plaintiff was arrested with sixteen other
        individuals, Defendants are mindful of the need to carefully review these documents to protect
        the non-parties’ N.Y.C.P.L. 160.50 interests, as well as their private and sensitive information.

                 Defendants do not believe that any delay with the production of the outstanding
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documents, less than two percent of the entire universe of documents from the files of the
District Attorney’s Office pertaining to Trevor Lucas, will impact the parties’ ability to have
productive settlement discussions on July 14, 2020. Plaintiff’s counsel consents to this proposal.
Accordingly, Defendants respectfully request that the Court extend the time for Defendants to
produce the remaining documents from the District Attorney’s Office files, from June 24, 2020,
to and including August 10, 2020.

       Defendants thank the Court for its consideration.

                                                            Respectfully submitted,

                                                            ]ÉtÇÇx `A `v_tÜxÇ     /s/

                                                            Joanne M. McLaren



cc:    Gabe Harvis, Esq. (by ECF)
       Baree Fett, Esq. (by ECF)




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